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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 THE FOX LAW CORPORATION, INC.
 Steven R. Fox, SBN 138808                                                                               FILED & ENTERED
 W. Sloan Youkstetter, SBN 296681
 17835 Ventura Blvd., Suite 306
 Encino, CA 91316                                                                                                OCT 28 2019
 (818)774-3545; FAX (818)774-3707
 srfox@foxlaw.com
 syoukstetter@foxlaw.com                                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY handy      DEPUTY CLERK




                                                                                                CHANGES MADE BY COURT
     Individual appearing without attorney
     Attorney for: Fund Management International, LLC

                                          UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA -NORTHERN DIVISION

 In re:                                                                      CASE NO.: 9:19-bk-11689-MB

 Ho Soon Hwang Yang,                                                         CHAPTER: 13

                                                                             ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING MOVANT’S SECOND
                                                                                    APPLICATION FOR ORDER SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                             [LBR 9075-1(b)]
                                                              Debtor(s).

 Movant (name): Fund Management International, LLC



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Notice of Motion and Motion for Relief from the Automatic Stay Under U.S.C. §362 (Action in
       Nonbankruptcy Forum)

    b. Date of filing of motion: October 16, 2019

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: October 23, 2019




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3. Based upon the court’s review of the application, it is ordered that:

    On October 16, 2019, Movant filed its Motion for Relief from Stay to Proceed in a Nonbankruptcy Forum (the “RFS

Motion”) which expressly requests relief from stay to permit Movant’s 2016 state court action (the “2016 State Court

Action”) pending in Superior Court to proceed to trial “through judgment and for all other purposes” and to permit the

Order to Show Cause re Contempt “to go forward” in a pending state court action in which Movant is an intervenor (the

“Rickley Action”). Case Dkt. 9 at 17. The Order to Show Cause re Contempt refers to a motion filed by the court-

appointed receiver (the “Receiver’s Contempt Motion”) in the Rickley Action. In its RFS Motion, Movant prays for:

                  1.    Relief under section 362(d)(4) of the Bankruptcy Code;

                  2. A determination that Movant holds a non-dischargeable debt against both the Debtor

                       and her non-filing spouse and that the amount of the debt exceeds $8,000,000;

                  3. A determination that the Debtor filed this bankruptcy case in bad faith “and

                       recklessness” and with harassing and improper purposes;

                  4. An award to Movant of $9,287.50 in attorneys’ fees and $256 in costs;

                  5. A determination that the Debtor is a vexatious litigant;

                  6. Sanctions against the Debtor of not less than $25,000; and

                  7. Termination of the automatic stay prospectively and in rem.

        By its First Ex Parte Application for Order Shortening Time filed on October 16, 2019, Movant requested a hearing

on the Motion prior to October 30, 2019 to allow Movant to file a joinder to the Receiver’s Contempt Motion by October 30,

2019. By its order entered on October 18, 2019, the Court set the Motion for hearing on November 6, 2019, the first

available hearing date for relief from stay motions in this division following the filing of the Motion.

        By its Second Ex Parte Application for Order Shortening Time (the “Second Application”), Movant insists the

Court must conduct a hearing on the Motion no later than October 29, 2019 to allow Movant to file a joinder to the

Receiver’s Contempt Motion by October 30, 2019. Case Dkt. 18. The LASC set a hearing on the Receiver’s Contempt

Motion for November 22, 2019. The Receiver’s reply deadline is November 15, 2019. The Second Application also notes

that the Debtor’s opposition deadline is November 8, 2019. In its Second Application, Movant argues that the LASC “may

continue the hearing [on the Receiver’s Contempt Motion] into 2020 if relief is not granted prior to the deadlines to file

papers.” Case Dkt. 18 at 2. This is the only potential harm identified by Movant if the Motion is heard on November 6,

2019 and no evidence is offered in support of this argument. It is unclear why the LASC would move the November 22,

2019 hearing simply because Movant – an intervenor in the Rickley Action -- may be unable to timely file a joinder to

another party’s motion. If the Motion is granted at the November 6, 2019 hearing, timely oppositions and replies can be
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filed in the Rickley Action on November 8, 2019 and November 15, 2019, respectively, and the hearing on November 22,

2019 may proceed. The mere possibility of a delay on the Receiver’s Motion for Contempt is insufficient cause to further

shorten time on the Motion, especially given the expansive relief requested by Movant in its Motion.

    For the foregoing reasons, the Court DENIES the Second Application. The Court will conduct a hearing on the Motion

on November 6, 2019 as indicated in the Court’s order on the First Application entered on October 18, 2019.

                                                                        ###




                Date: October 28, 2019




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